                                                               Case 2:23-ap-01173-VZ           Doc 79 Filed 01/23/25 Entered 01/23/25 10:57:58           Desc
                                                                                                Main Document Page 1 of 2



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                                                                    Chapter 7 Trustee                                           Central District of California
                                                                                                                                BY johnson DEPUTY CLERK
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                                                                8                              UNITED STATES BANKRUPTCY COURT
                                                                9                                 CENTRAL DISTRICT OF CALIFORNIA
                                                               10                                      LOS ANGELES DIVISION
                                                               11 In re:                                            Case No. 2:21-bk-16403-VZ
                                          3 EAST, SUITE 1900

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                           LOS ANGELES, CALIFORNIA 90067




                                                               12 SPECTRUM LINK, INC.,                              Chapter 7
                                                               13                    Debtor.                        Adversary No.: 2:23-ap-01173-VZ
                                                               14                                                   ORDER GRANTING STIPULATION
                        1875 CENTURY PARK




                                                                  HOWARD M. EHRENBERG, Chapter 7                    TO DISMISS ADVERSARY
                                                               15 Trustee,                                          PROCEEDING WITH PREJUDICE
                                                               16                    Plaintiff,                     Status Hearing:
                                                               17           vs.                                     Date:    January 30, 2025
                                                                                                                    Time:    10:30 a.m.
                                                               18 MILLENNIUM MARKETING                              Place:   Courtroom 1368
                                                                    CONCEPTS, INC., UNITED CARE                              255 East Temple Street
                                                               19 RESIDENTIAL, INC., and ALEX                                Los Angeles, CA 90012
                                                                    MUKATHE,                                                 Hon. Vincent P. Zurzolo
                                                               20
                                                                                     Defendants.
                                                               21
                                                               22

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                                                               24           Based upon this Court's review of the "Stipulation To Dismiss Adversary
                                                               25 Proceeding With Prejudice" filed in the above-captioned adversary proceeding on January
                                                               26 15, 2025 [Docket No. 76] (the "Stipulation"), and for good cause, it is hereby ORDERED
                                                               27 as follows:

                                                               28


                                                                    SFW 59539324v1
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                                                                1           1.   The Stipulation is approved; and
                                                                2           2.   This adversary proceeding is dismissed with prejudice pursuant to Federal
                                                                3 Rule of Civil Procedure 41(a)(2).

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                                                               24 Date: January 23, 2025

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